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                                     Parliamentary Opinion

         RE: Libertarian National Committee vs. Saliba, et al. (Case No. 23-cv-11074)

       On July 12, 2023, Caryn Ann Harles, Secretary of the Libertarian National Committee,

and with the approval Andrew Chadderdon, Chair of the Libertarian Party of Michigan (LPMI),

contacted the parliamentarian1 regarding claims made is a filing by the defendants in Libertarian

National Committee vs. Saliba, et al. (Case No. 23-cv-11074) on July 10, 2023.

       The specific claim in the filing relates to the role of the Judicial Committee of the

Libertarian Party of Michigan. The filing states that:

     The release of the judicial committee opinion created substantial confusion within the party.
Ex. 5 at 5 (Saliba Declaration). Although the judicial committee had existed for several decades,
it had never previously claimed the authority to overrule decisions made by convention
delegates. See id. at 5-6. Further, because the judicial committee is a "committee," Robert's
Rules of Order [sic] indicates that its proper role is to "report its findings or recommendations to
the assembly," not to order self-executing remedies. Id. at 6; Ex. 21 at 6 (Robert's Rules).
Accordingly, while some members of the executive committee were initially under the
impression that they had been removed from their committee seats, they eventually concluded
that was not the case. Ex. 5 at 6 (Saliba Affidavit). Rather, they determined that they remained
in their positions unless and until the party's members adopted the recommendations
of the judicial committee and removed them from office. Id. at 6.

        On February 2, LPMI Chair Joe Brungardt described this position in detail in an email
sent to all registered LPMI members. Ex. 9 at 1-3 (LPMI Emails); Ex. 14 at 9 (michiganlp.net
Printouts). After explaining that the appropriate role of a committee is to issue recommendations
to the broader assembly, Mr. Brungardt stated:

       [T)he Judicial Committee has no authority to overrule the delegates of a convention
       body. Therefore, should the Executive Committee believe
       that the Judicial Committee is overstepping its authority, it is incumbent
       upon the Executive Committee to assert the rights of its members in
       opposition to the Judicial Committee if necessary.

Ex. 9 at 2 (LPMI Emails). In order to exercise this responsibility, Mr. Brungardt announced that
the party would hold a convention on April 1 so that party members could discuss the judicial
committee's recommendations. Id. at 1-2. (Saliba Response, pp. 625-6)
                                       Jonathan M. Jacobs, PRP, CPP
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                                            EXHIBIT 50
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       Ms. Harlos asked the parliamentarian if he would be willing to write an opinion "on

whether or not the assertions regarding the scope of the Michigan Judicial Committee made by

the Defendants in their Response and Exhibits to the LNC's Motion for Preliminary Injunction

are correct?" After a request for clarity, she responded on July 13, 2023, "Yes, the specific

claim they made in their reply that the JC can only issue recommendations."

                                              Works Cited

       The Bylaws of the LPMI shall be cited as "Bylaws," as they existed through March 315\

2023,2 with article and section numbers as appropriate.

       The response of the defendants in Libertarian National Committee vs. Saliba, et al.

(Case No. 23-cv-11074) on July 10, 2023, shall be cited as a "Saliba Response," with the page

ID number used as the reference.

       Article XI Section 2 of the Bylaws provide that "Robert's Rules of Order Newly Revised

shall be the parliamentary authority for all matters of procedure not specifically covered by the

bylaws or convention rules of the Party." The 12th edition of Robert's Rules of Order Newly

Revised (2020), 3 is the current edition; it will be cited as RONR with the appropriate line and

section number.

       Several articles will be cited from National Parliamentarian, the peer-reviewed journal of

the National Association of Parliamentarians, the largest professional association of

parliamentarians. It will be cited as NP in text, with full bibliographic information in an end note.

                                              Commentary

       The parliamentarian will note that this opinion is limited to whether or not the Judicial

Committee of the Libertarian Party of Michigan has the authority to make binding rulings on

claims of violations of the Bylaws, without regard to some action by another body or group of

members of the Party. He is aware of, and has formally opined on, other procedural matters

relating to the LPMI, but this opinion only deals with the authority of the Judicial Committee. It



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does not, for example, deal with the merits of the case brought to the Judicial Committee in this

opinion, but only with that Committee's ability to adjudicate that case.

       The Saliba Response asserts "... because the judicial committee is a "committee,"

Robert's Rules of Order [sic] indicates that its proper role is to "report its findings or

recommendations to the assembly," not to order self-executing remedies. Id. at 6; Ex. 21 at 6

(Robert's Rules).(p. 625)" The exhibit is a photocopy of pages 466-7 of RONR in this regard (p.

807). This claim is a misstatement of the rules in RONR, and the parliamentary procedure

within the LPMI.

        RONR draws a distinction between the general parliamentary rules, those incorporated

into the book, which it defines as "parliamentary law," and "parliamentary procedure" which is

said to be "parliamentary law as it is followed in any given assembly or organization, together

with whatever rules of order the body may have adopted (RONR, p. xxx)." As the

parliamentarian previously described this as, "Parliamentary law expresses the general and

theoretical rule, while parliamentary procedure expresses the specific rule for the specific

assembly (NP, p. 13, Fall, 2017)."4 In this case, the parliamentarian will look at both the general

rule in RONR and the specific rules and bylaws as they apply to the LPMI.

        The Saliba Response describes the general and theoretical rule as being that a

committee "report its findings or recommendations to the assembly (p. 625)." This is a

misstatement of the rule in RONR. Certain types of committees may report its finding to the

body that appointed, but other committees are appointed '"with power,' i.e. the "power to take all

the steps necessary to carry out its instructions (50:5)." Likewise a standing committee, which

may be established in either the bylaws or by special rule of order, may be granted "standing

authority to act for the society on matters of a certain class without specific instructions of the

assembly (50:8)." In neither case would the committee need to report its findings nor make any

recommendations; it takes the action that the society has delegated to it. The parliamentarian

will note that these citations were included in the exhibit submitted in the Saliba Response (p.

                                         Jonathan M. Jacobs. PRP. CPP
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807). A society, in general, may delegate its authority to a committee according to RONR and,

in that case, the committee would not need any additional authorization to act. In this case the

Judicial Committee has been instructed by the Bylaws (Article XI, Section 2) to "decide cases

involving alleged violations of these bylaws or resolutions," which is precisely what it did.

       The Saliba Response, in the specific case, treats the Judicial Committee as something

other than a standing committee, one that lacks the ability to act without further reference to the

Convention5. The Judicial Committee is a committee of established in Article V, Section 1. of

the Bylaws, and granted authority to "decide cases involving alleged violations of these bylaws

or resolutions," in the Section 2. of the same article. This meets the definition of a standing

committee in RONR; as such, there is no requirement in RONR that the Judicial Committee

needs to have its decisions approved by another body. There is also no requirement in the

Bylaws for their decision to be approved by another body.

       The bylaws of a society supersede all other rules of the society, except for the corporate

charter or a separate constitution6 (RONR 2:12). This is consistent with Article XI, Section 2. of

the Bylaws. In other words, both RONR and the Bylaws establish that the Bylaws are

controlling when there is a conflict. This is not a new concept; in writing on this subject about 29

years ago, the parliamentarian noted "It is necessary for a parliamentarian to be aware that

there may exist a higher authority, national, state, local laws, as well as the society's bylaws and

special rules that supersede RONR (NP, 3rd Quarter, 1994, p. 32)."7 The Article V Section 2

statement that, "The Judicial Committee shall decide cases involving alleged violations of these

bylaws or resolutions," supersedes any provision to the contrary in RONR, if such a contrary

provision exists.

        Joe Brungardt is cited in the Saliba Response as saying, "the Judicial Committee has no

authority to overrule the delegates of a convention body (p. 626, citing Exhibit 9)." This

statement has no basis in fact. Other than making this statement, the defendants offer no bylaw

to support this claim. The LPMI, at a previous convention of delegates, that is presumed to

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have been properly constituted, has authorized the Judicial Committee to "decide cases

involving alleged violations of these bylaws or resolutions," by adopting a bylaw with that

wording. When it has determined that the action of delegates violates the bylaws, the Judicial

Committee has full authority to act.

       RONR does provide that "[E]ach society decides for itself the meaning of its bylaws," but

goes on to note that "[A]n ambiguity must exist before there can be any occasion for

interpretation (56:68(1))." Article V, Section 2 is not ambiguous. The statement, "The Judicial

Committee shall decide cases involving alleged violations of these bylaws or resolutions," is

crystal clear. Neither Mr. Brungardt, in his email (Saliba Response, pp. 753-6) nor the

defendants' response, have claimed that the Bylaws are ambiguous in this regard.

                                                 Opinion

       1. RONR authorizes standing committees, that are granted the "standing

authority to act for the society on matters of a certain class," to act on those matters

without any further action from the assembly, i.e. they would not need to "report back

findings and recommendations."

       2. A standing committee would, strictly under RONR, be established and granted

that authority in a bylaw or special rule. The Judicial Committee is created by the Bylaws

(Article V, Section 1.) and is granted the authority to "decide cases involving alleged

violations of these bylaws or resolutions (Article V, Section 2.)"; this clearly meets the

definition of a standing committee under RONR.

       3. The Bylaws supersede RONR. Even if there would be a claim that the Judicial

Committee is somehow to not a standing committee, the Bylaw (Article V, Section 2)

grants the Judicial Committee final authority. That would supersede any conflicting rule

in RONR.

       4. Under the provisions of Article V, Section 2, the Judicial Committee,

unambiguously, has final authority to "decide cases involving alleged violations of these

                                       Jonathan M. Jacobs, PRP, CPP
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bylaws or resolutions," without reference to or the need of approval from, any other

group or person within the LPMI.




                                                 7/17/1-.3
                                                         Date


      This is based on general principles of parliamentary procedure, the bylaws of this organization, and
      the cited parliamentary authorities; nothing in this opinion should be construed as an interpretation of
      statutory or case law.


                                                     End Notes
1
 The parliamentarian has had registered status with the National Association of Parliamentarians since
1995 and certified with the American Institute of Parliamentarians since 2000. He is one of fewer than
ninety dual accredited parliamentarians internationally.

 Within the Libertarian Party, he has served as a convention parliamentarian for the New Jersey (2021),
Pennsylvania, and Delaware state parties (both 2022), and served as a bylaw consultant for the Vermont
(2022) and Virginia (2021) state parties. He has been advising Mr. Chadderdon on parliamentary matters
since 6/16/22.
2 These Bylaws were amended at the June 26, 2021 Convention. These were the bylaws in force during
the Judicial Committee's adjudication.
3
 Robert, Henry M., Robert's Rules of Order Newly Revised, 12th Edition. Eds. Sarah Corbin Robert,
Henry M. Robert, Ill, William J. Evans, Daniel H. Hanemann, Thomas J. Balch, Daniel E. Seabold,
Shmuel Gerber, New York: Public Affairs, 2020.
4
    Jacobs, Jonathan M. "Comparing Parliamentary Law and Parliamentary Procedure." National
Parliamentarian 79, No. 1 (Fall 2017), 12-13.
5
  An "assembly" is a generic term that refers to a body of people that assemble (RONR, 1:3). A
"convention" is type of assembly ( 1: 14).
6
    The LPMI has no constitution. RONR recommends having a single document, e.g. bylaws (2: 11).
7                                                                                rd
    Jacobs, Jonathan M. "A Higher Authority." National Parliamentarian, 55 (3 Qtr. 1994), 30-32.




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  Robert 's Rules of
Order, Newly Revised        A Higher                             the township solicitor.
                                                                 There are five supervi­        A Higher Authority                             §2, p . 1 5)." The rule of the House of Bish­
                                                                                                                                               ops that permits three Bishops to dema11d



                            Authority
 has been adopted as the                                         sors, the quorum is            (continuedfrom page 30)                        that a vote be counted and recorded, is
 p arliamentary authority                                        three, three supervisors       entirely of Episcopal Bishops, who are such an example of a special rule of order.
 for numerous organiza­                                          are present, and the           elected for life by a complex (some would The provision in Robe1t, that to count a
 tions. In most cases it is                                      vote, once again is two        say torturous) procedure. They, in con­ vote, a majority vote is required, is super­
 binding on all parlia­                                          to one.                        junction with elected diocesan represen­ seded by the special rule of order.
 mentary question s .             By Jonathan M. Jacobs              Penn s y l v a n i a ' s   tative in the other chamber, the House of          The township supervisors give an ex­
 Robe1t, however, i s not                                        Second Class Town­             Deputies, adopt tbe ru !es, called "can­ ample of where the standard provisions of
 the highest authority on all parliamentary ships operate under a set of laws known as          ons," of the Church. The Bishops also RONR runs counter to statute, in thi s case
 questions. Consider the following ex­ the Second Class Township Code. The                      adopt rnles to govern their proceedings; a state law. Robert is not silent on this
 amples relating to two different types of code does permit townships to make rules,            they also have an adopted parliamentary issue either. There are two key passages.
 organizations.                               bylaws, or regulations tl1at "m·e not incon­      authority. They have adopted the latest Robert states first that the parliamentary
     Example One: There is a deliberative sistent with or restrained by the Constitu­           edition of Robert "Except when in con­ authority is binding in all cases, " . . . where
 assembly, a representative body, which tion and laws of this Commonwealth . . . .              flict with the Constitution or Canons, or they are not inconsistent with the bylaws
consists of five members. A quorum is [Secona Class Township Code (Pa.), §70 I ,                any Rule herein contained (Rules of Or­ or any special rules of order of the body,
three members ; RONR is the parl iamen­ LXII]." Many townships, and other local                 der - House of Bishops, Rule XXX) ."           or any provisions of local, state, or na­
tary authority. At a properly called meet­ governmental units do use RONR to gov­                   Again there is a situation which should tional law applying to the particular type
ing, a motion is made and seconded. The ern their proceedings ; in point of fact                 be familiar to most parliamentarians. A of organization (RONR, §2, p. 1 6)." There
vote on the motion is taken; the result i s Robert is commonly used in Pennsylva­                voice vote is taken on a main motion with is also the passage on parliamentary au­
two in favor and one against. Does the nia local governments. So, if the board                   dozens of Bishops presenl and voting. thority in the section on the bylaws. RONR
                                                                                         >
motion carry? According to RONR, yes. has adopted RONR, then the motion                          After the vote, three Bishops stand and strongly suggests this wording: "The rules
RONR (§43, p. 395) states, " . . . when the passes, right'?                                      call for a recorded vote. RONR states that, contained in the current edition of . . .
term majority vote is used without quali­        Wrong ! The Township Code has a                 "Where no special rule has been adopted, [specifying a standard manual of parlia­
fication - as in the case of the basic provision which states, "Except as other­                 a majority vote is required to order a count mentary practice, such as this book] shall
requirement - it means more than half of wise provided by this act, an affirmative               (RONR, §44, p. 404)." If a majority oft�e govern the Society in all cases to which
the votes cast, excluding blanks or absten­ vote of a majority of the entire board of            Bishops vote against a recorded vote, there they are applicable and in which they are
tions, at a regular or properly called meet­ supervisors shall be necessaiy in order to          is no recorded vote, right?                    not inconsistent with these byl aws and
ing at which a quorum is present." lf you transact any business (Second Class Town­                 Wrong, once again. There is a special any special rules or order the Society may
were acting as the parl iamentarian of that ship Code, §5 12)." A majority of mem­               rule which states that, "On any question adopt (RONR, §55, p. 573)." This pas­
meeting, and the presiding officer asked bers of the entire five member board, as                before the House tbe ayes and nays may sage is footnoted suggesting that the fol­
you if the motion carried, you would cite defined by RONR, is three (RONR, §43 ,                 be required by any three members, and lowing should be added to the end of this
that section of Robert and say, "Yes! "       pp. 397-398). The motion, whether it is to         shall in such cases be entered on the passage if the organi:.:ation is subject to
    What i f tbe setting would change approve a multi-million dollar budget or                   Journal (Rules of Order - House of Bish­ any local, state, or national law: "and any
slightly. Instead of an anonymous delib­ to purchase stationery, does not pass.                  ops, Rule IX)." The three Bishops get statutes applicable to this organizati on.''
erative assembly, what if it is a unit of        There are numerous examples in the              their wish; a recorded vote is taken.          It further states that, ''Such legislation
local government in the State of Pennsyl­ various units of Pennsylvania local gov­                   In both of these examples, the conect supersedes all rules of the organization
vania, a Second Class Township Board of ernments,   , where the state legislature drafts         answer is not the "standard" answer found where in conflict with them, however,
Supervisors. Second Class Townships laws that say what local governments can                     in RONR. Robert does, however, deal even if no mention of it is made in the
exist across Pennsylvania, in both rural do. There are also examples of this in non­             w it h both examples. RONR itself lists bylaws (Ibid.)." The state law that re­
areas and as suburbs of cities such as governmental organizations which answer                   t w o circum stances when it i s n o quires a majority of the Board of Supervi­
Philadelphia. These townships are gov­ to a higher authority, sometimes in more                  longer controlling.                            sors to take an action supersedes the state­
erned by a board of from three to five ways than one. An interesting example,                        In the case of the three Bishops, a ment in Robert that requires a majority of
"supervisors," elected by the voters of the on a more spiritual plain, is the House of            special rule of order exists. A special rule votes cast, a quorum being present.
townsh ip. This board serves as the legis­ Bishops of the Episcopal Church.                      of order is one that is adopted by the             What should a parliamentarian do in
lature and executive of townships, and is        Example Two: One of the two legisla­             assembly and modifies or supplements these situations ? RONR does recognize
responsible for such functions as police tive chambers of the Episcopal Church is                the parliamentary authority. RONR goes that there are higher authorities. It is in­
and road construction. You're the parlia­ the House of Bishops; it is composed                    even further, stating "Special rule of order cumbent on the parliamentarian to be fa­
mentarian again, perhaps working with                              (cominued on page 31)          supersede any niles in the parliamenlary miliar not only with Robert but with the
                                                                                                  authority with which they conflict (R ONR,                            (comi1111ed 011 page 32)
30                                                                                                                                                                                           31
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A Higher Authority                                   It is necessary for a parliamentarian to
                                                  be aware that there may exist a higher
                                                  authority, national, state, local laws, as
                                                                                                      An Electing Experience
  (continued .from page 31)
                                                  well a5 the society's bylaws and special            Reprinted from the Colorado l'ar/iame11wrian     had received 75% of the nominating voles,
  bylaws and standing rules of the organiza­
                                                  rules, that supersede RONR.                                                                          he/she would have been elected, but no
  tion as well as any applicable stalute.                                                             By Katherine L. Crnson
                                                                                                                                                       one received 75% of the votes .


                                                                                                      T
  What does a parliamentarian do when a           Blbllogra1>hy                                                                                            The second ballot !isled all 48 names,
  higher authority, special nile of order (or                                                                 h1·s fall a multi-state organization     in order of number of ballots received ; the
  a bylaw) or statute, supersedes RONR?           Co11stillltio11 and Cano11s. The Episcopal                   conducted an election which was
                                                     Church, 1 985.                                                                                    first name had the highest number of
     In the case of a special rule of order (or   Green, Betty S., PRP, "RONR & the Law."
                                                                                                               out of the ordinary. Because the        nominating ballots. The last 21 na mes
  bylaw) superseding RONR, the answer                National Parlia111enrn rian. Vol .55             election of the "presiding officer" could        each had one ballot each and were listed
  seems to be fairly clear. A bylaw or spe­          (! 994),Second Qu a1tcr, p. ! I .                                     i nvolve over 14,000 po­    alphabetically. The second and following
  cial rule of order is within the control of     Robert 's Rules of Order, Newly Revised, Ed.                             tential candidates na­      ballots were recorded on Scantron ballots,
                                                     Sarah Corbin Robert, 1-lenry M. Robert, Ill,
  the deliberative·assembly . It, too, does not      William J. Evans, and James W. Cleary;                                tionwide, several steps     which made counting much faster and
  directly involve a statute and an opinion          Glenview, IL: Scott.Foresman, anti Co., 1 990.                        were taken to facilitate    more accurate. Again, if one person had
 does not involve a "legal" opinion. A            The Seco11d Class Township Code, Common­                                 the election.               received 75% of the votes, he/she would
 parliamentarian could offer a parliamen­            wea lth of Pennsyl vania. 1992.                                           First, delegates in     have been elected, but that did not occur.
 tary opinion which wouid not constitute                                                                                   each of I O geographi­          The third ballot was limited to the
 the practice of law.                             Author's note: The author is not an attorney.                            cal areas (conferences)     seven people with the highest numbers of
     The case where there is a statute which                                                                               met in their area to list   votes and required 67% of the votes for
 is in conflict with the parUamentru.y au­        Jonathan M. Jacobs has a solid back­                                     potential candi dates.      election. Prior to the voting for the third
 thority is different. A statute always su­       ground in Pennsylvania local government,                                 This was not to be con­     ballot, each of the seven people spoke to
                                                  having been elected to three different lo­          strued as a nominating ballot; it was only       the convention for five minutes each. The
 persedes the parliamentary authority, ac­                                                            to list potential candidates so that infor­
 cording to RONR. It is necessary for a           cal government offices during the 1980s,                                                             fourth ballot was 1 i mi ted to the three people
                                                  the first while still in college. He last           mation could be received and given to the        with the highest number of votes and
 lawyer to offer a legal opinion . lt has been                                                        approximately 500 delegates. Each con­
 pointed out that a parliamentarian, unless       served concurrently as a school director                                                             required 60% of the votes for election.
                                                  andsecreta1y ofthe FerndaleArea School              ference listed all the names generated by        Prior to the fourth ballot, each person was
 also an attorney, who gi ves a "legal" opin­                                                         that conference. Those names were sent
                                                  Board, located in suburban Johnstown.                                                                asked several questions which had been
 ion may be subject Lo a charge of malprac­                                                           to a central office and the people named         submitted earlier. When no one received
 tice of law ; it has also been pointed that a    He has also served as a consultant to
                                                  numerous candidates andpublic officials.            were contacted for biographical infonna­         60% of the votes, the fifth bal lot was
parliamentarian has responsibil ity to ad­                                                            tion. (Some names were mentioned in              narrowed to the two people with the high­
 vise clients on the proper application of                                                            more than one conference.) Of the 50             est number of votes and required a major­
 rules (Green, National Parliamentarian,                                                              people named, about half responded with          ity vote. The election was complete.
2nd quarter, 1994, p. 1 1 ). How should a                                                             one page of biographical data. The others            Additiona1 note: A snowstorm pre­
parliamentarian band.le this situation?                                                               who did not respond were not disquali­           vented 30 delegates from attending the
    Perhaps the best way for a parliamen­                                                             fied. The complete list and the one-page         convention . Out of concern that they feel
tarian to handle this situation is to inform      (continuedfrom page 9)                              biographies were sent to the delegates           included in the process, they were con­
the assembly that there may be a provision                                                            preceding the convention date.                   tacted by telephone and asked if they
in statute which might affect the situation.      bers are effectively on notice that the                 At the convention, the first ballot was      would like to vote by telephone. Three
The parliamentarian could state that be­          entire platform is up for grabs every year,         the official nominating ballot. Each del­        wished to vote in that way, the others said
cause this involves the interpretation of a       even though no formal notice is given.              egate was given a paper on which to write        they would accept the outcome of the
statute, a lawyer's opinion is necessary.                                                             his/her nomin ation. Potentially, each of the    attending delegates. For each b allot,
                                                      The practicing parliamentarian, when            500 delegates could have nominated a dif­
The parliamentarian could also inform             engaged to assist a group for the first time,                                                        the chairman of the tellers called the
the assembly of the provisions in RONR                                                                ferent candidate, so that 500 names could        three out-of-state delegates and re­
                                                  would do well to determine which custom             have been on the next ballot, and even those
which state that any local, state, or na­         is followed by the society, as it is seldom                                                          c orded their votes .
                                                                                                      500 names could have been different from
tional law which conflicts with the parlia­       set out in the rules . To the extent that one       the names previously generated!                  Katherine L. Cruson, MAL Colorado, lives in
mentary authority, supersedes the parlia­         practice or the other causes confusion                  However, in reality, 48 names were           Aurora, CO. She was delegate to the 1993
mentary authority. In this way, the parlia­       among the members, the parliamentarian              listed, most of which were on the lists          NAP Convention inDenver. lnherown words:
mentarian preserves the ethical require­          may suggest' to the society's leaders that          from the previous conferences. The chair­         "My limited, but expanding, knowledge of
ment to properly advise a client, but does        the gro up's standard procedure be codi­                                                             parliamentary procedure sometimes gets me
                                                                                                      man of the teUers read each name and the         into trouble and onto committees. "
not i nterpret statute.                           fied by rule.                                       number of votes received. If one person
32                                                                                                                                                                                                  33
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                 Comparing
                                                                                              duties of officers within a meeting2 •           for each member for each debatable
                                                                                              Basically, it is the procedural rules            motion. What RONR says about the
                                                                                              that govern a specific assembly.                 limits of debate has no bearing on the


                                            &
                                                                                              Parliamentary procedure, which                   procedure of debate.

 Parliamentary                                       Parliamentary                        .
                                                                                              would probably include large elements               The difference can also be


                                                 PROCEDURE
                                                                                              of parliamentary law, is much                    expressed this way: Parliamentary law

           LAW                                                                                narrower than parliamentary law.
                                                                                                   How would this function? Assume
                                                                                              that there is a question of the time
                                                                                                                                               expresses the general and theoretical
                                                                                                                                               rule, while parliamentary procedure
                                                                                                                                               expresses the specific rule for the
                                                                                              that each member is allowed to                   specific assembly.
                                                                                              speak in debate. The limit set by
                                                                                              "parliamentary law," as codified by
                                                                                              RONR l lth ed., is that each member
                                                                                              may speak twice for up to ten minutes
                                                                                              on each debatable question (p. 387,
                                                                                              11. 29-34). Suppose the assembly
                                                                                              adopted a rule to limit debate to one
                                                       By Jonathan M. Jacobs, PRP, CPP        three-minute speech for each member
                                                                                              on any debatable motion. The rule
    The terms "parliamentary law"            is almost theoretical, while the other           under parliamentary law would
and "parliamentary procedure" are            mainly practical.                                remain the ten-minute rule. In terms
often used interchangeably, even                  In RONR, "parliamentary law" is,            of parliamentary procedure, the rule
by parliamentarians. Sometime, the           broadly, those rules and customs that            for this assembly is now three minutes
speaker may assume that "parliamen­          originated in the English parliament,
tary law" has something to do with           that dealt with the transaction of
law, in the sense that it based upon         business, but that further developed                     ENDNOTES
                                                                                                      1 The author prefers not to use the term "common parliamentary law" as
either statute or precedent set by a         due to legislative procedure in America                    it can be easily confused with "common law."
court. This is especially true when the      This parliamentary law is a broad
                                                                                                      2 Not all rules that regulate procedure within a meeting are rules "in the
term "common parliamentary law"              set of rules, which when written and
                                                                                                        nature of a rule of order." The clearest example is a statute requiring an
is used, even though Robert's Rules of       adopted, become "rules of order                            assembly, e.g. a municipal council, to have roll call votes.
Order Newly Revised (11th ed.) notes          (p. xxix)." RONR itself is a codification
that this term is synonymous with            of these rules.
"general1 parliamentary law (p. :x:xix)."         "Parliamentary procedure" is                        WORKS CITED
                                                                                                      Robert, Henry M., Robert's Rules of Order Newly Revised, 11th Edition. Eds.
What then is "parliamentary                  something different. It is these "rules                    Sarah Corbin Robert, et al., Philadelphia: Da Capo Press, 2011.
procedure?" Can you, without                 of order" together with whatever
looking, explain what parliamentary           additional rules of order the society
procedure is?                                may adopt (RONR, p. xxx). In that
    Parliamentary law (or "common            definition, it would include bylaw                                              Jonathan M. Jacobs, PRP, CPP, is the former
                                                                                                                             president of the Pennsylvania Association of
parliamentary law" or "general               provisions and any applicable statute                                           Parliamentarians, and the current president
parliamentary law") and parliamentary         that would deal with the transaction                                           of the Delaware Valley Unit.
procedure are two distinct things. One       of business in a meeting or with the
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